       Case 3:05-cr-00157-RAM           Document 90        Filed 02/01/07      Page 1 of 7



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,
                                                              CRIMINAL NO. 05-157 (CCC)
       Plaintiff
       v.
JUAN AGOSTO VEGA (2)
       Defendant



             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                  RE: RULE 11(c)(1)(B) GUILTY PLEA HEARING


I.     Procedural Background
       On May 11, 2005, defendant Juan Agosto Vega was charged in a four-count indictment. He
agrees to plead guilty to Count Two.
       Count Two charges that Mr. Agosto Vega, on or about October 2004, aiding and abetting the
other defendants, knowingly discharged and/or caused to be discharged a pollutant, namely raw
sewage, from a point source into a water of the United States without a permit issued under Title 33,
United States Code, §1342, all in violation of Title 33 United States Code, §1311 and1319(c)(2)(A),
and Title 18 United States Code, §2.
       Defendant appeared before me, assisted by the court interpreter, on January 31, 2007, since
the Rule 11 hearing was referred by the court. See United States v. Woodard, 387 F.3d 1329 (11th
Cir. 2004) (magistrate judge had authority to conduct Rule 11 guilty plea hearing with consent of
defendant). He was advised of the purpose of the hearing and placed under oath with instructions
that his answers must be truthful lest he would subject himself to possible charges of perjury or
making a false statement.
         Case 3:05-cr-00157-RAM                  Document 90            Filed 02/01/07          Page 2 of 7



USA v. Juan Agosto-Vega (2)
Report and Recommendation
Page 2

II.      Consent to Proceed Before a Magistrate Judge
         Defendant was provided with a Waiver of Right to Trial by Jury form, which he signed. 1 He
was advised of his right to hold all proceedings, including the change of plea hearing, before a
district court judge. He received an explanation of the differences between the scope of jurisdiction
and functions of a district judge and a magistrate judge. He was informed that if he elects to proceed
before a magistrate judge, then the magistrate judge will conduct the hearing and prepare a report
and recommendation, subject to review and approval of the district judge, advising how to proceed.
The defendant then voluntarily consented to proceed before a magistrate judge.
III.     Procedings Under Rule 11 of the Federal Rules of Criminal Procedure
         Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas
to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid
waiver of the defendant’s right to trial, the guilty plea must be knowing and voluntary. United States
v. Hernandez-Wilson, 186 F.3d 1, 5 (1st Cir. 1999). “Rule 11 was intended to ensure that a defendant
who pleads guilty does so with an ‘understanding of the nature of the charge and consequences of
his plea.’” United States v. Cotal-Crespo, 47 F3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United
States, 394 U.S. 459, 467 (1969)). There are three core concerns in a Rule 11 proceeding: 1) absence
of coercion; 2) understanding of the charges; and 3) knowledge of the consequences of the guilty
plea. Cotal-Crespo, 47 F3d at 4 (citing United States v. Allard, 926 F2d 1237, 1244 (1st Cir. 1991)).
         A.       Competence to Enter a Guilty Plea
         This magistrate judge questioned the defendant about his age, education, history of any
treatment for mental illness or addiction, use of any medication, drugs, or alcohol, and his
understanding of the purpose of the hearing, all in order to ascertain his capacity and ability to
understand, answer and comprehend the change of plea colloquy. The court confirmed that the

         1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
       Case 3:05-cr-00157-RAM            Document 90        Filed 02/01/07      Page 3 of 7



USA v. Juan Agosto-Vega (2)
Report and Recommendation
Page 3

defendant received the indictment and fully discussed the charges with his counsel, Attorney Juan
Pedrosa, and was satisfied with the advice and representation he received.         The court further
inquired whether defendant’s counsel or counsel for the government had any doubt as to his capacity
to plead, receiving answers from both that the defendant was competent to enter a plea. After
considering the defendant’s responses, and observing his demeanor, a finding was made that Mr.
Agosto Vega was competent to plead and fully aware of the purpose of the hearing.
       B.      Maximum Penalties
       Upon questioning, the defendant expressed his understanding of the maximum penalties
prescribed by statute for the offense to which he was pleading guilty, namely: a term of
imprisonment of not more than three (3) years, and a fine of not less than five thousand dollars
($5,000.00) nor more than fifty thousand dollars ($50,000.00) per day of violation, or both. The
court further explained, and the defendant expressed his understanding, that if his conviction under
Count Two follows a first offense under the same statute, the maximum penalty will be a term of
imprisonment of not more than six (6) years, a fine of not more than one hundred thousand dollars
($100,000), or both. See 33 U.S.C. §1319(c)(2)(A). The defendant also understood he could be
sentenced to a term of supervised release of not more than three (3) years and that a Special
Monetary Assessment of $100.00 would be imposed, per count, to be deposited in the Crime Victim
Fund, pursuant to Title 18, United States Code, §3013(a). The court explained the nature of
supervised release and the consequences of revocation. The defendant indicated that he understood
the maximum penalties for Count Two and the potential consequences of the guilty plea.
       C.      Plea Agreement
       Mr. Agosto Vega was shown the document titled “Plea Agreement Pursuant to Rule
11(c)(1)(B) FRCP” (“Plea Agreement”), which is part of the record, and identified his initials on
each page and his signature on pages 6, 7 and 8. He confirmed that he had the opportunity to read
and discuss the Plea Agreement with his attorney before he signed it, that it represented the entirety
       Case 3:05-cr-00157-RAM            Document 90        Filed 02/01/07      Page 4 of 7



USA v. Juan Agosto-Vega (2)
Report and Recommendation
Page 4

of his understanding with the government, that he understood its terms, and that no one had made
any other or different promises or assurances to induce him to plead guilty. Although the defendant
does not read English, he confirmed that his attorney translated the Plea Agreement into the Spanish
language.
       The defendant was then admonished, pursuant to Fed. R. Crim. P. 11(c)(1)(B), and expressed
his understanding, that the terms of the plea agreement are merely recommendations to the court, and
that the district judge who will preside over the sentencing hearing can reject the recommendation
without permitting the defendant withdraw his guilty plea, and impose a sentence that is more severe
than the defendant might anticipate.
       The parties’ sentencing calculations and recommendations appear at pages three and four of
the Plea Agreement, and were explained in open court. In particular, the agreed upon Base Offense
Level (“BOL”) is Six (6) pursuant to U.S.S.G. §2Q1.3; pursuant to U.S.S.G. §2Q1.3(b)(1)(B), an
increase of Four (4) levels is agreed as the offense involved a discharge or release of a pollutant;
pursuant to U.S.S.G. §2Q1.3(b)(4), an increase of Two (2) additional levels is agreed as the offense
involved a discharge of a pollutant without a permit; pursuant to U.S.S.G. §3E1.1(a), a decrease of
Two (2) levels is agreed for acceptance of responsibility. Based on these Guideline sentencing
factors, the agreed Total Offense Level is Ten with a guideline range of six (6) to twelve (12) months
imprisonment, assuming a Criminal History Category of I.
       As indicated at page three, paragraph eleven, of the Plea Agreement, the parties will
recommend a sentence of six (6) months home detention and three years of probation, and the
government leaves the imposition of a fine to the sound discretion of the court. The defendant
confirmed that these were the sentencing recommendations he agreed to with the government.
       Although not contained in the Plea Agreement, the parties agreed in open court that the
government would move for dismissal of Counts One, Three and Four at sentencing.
       The defendant was specifically informed that any sentencing calculations he could have
        Case 3:05-cr-00157-RAM            Document 90         Filed 02/01/07       Page 5 of 7



USA v. Juan Agosto-Vega (2)
Report and Recommendation
Page 5
discussed with his counsel were not binding for the sentencing court, but were only estimates of
possible terms of his sentence, and that the court, after considering the applicable Sentencing
Guidelines, could impose a sentence different from any estimate in the Plea Agreement or provided
by his attorney, and that the court had authority to impose a sentence that is more severe or less
severe than the sentence called for by the Sentencing Guidelines. The defendant was advised, and
understood, that the Sentencing Guidelines are no longer mandatory and are thus considered
advisory.
        The defendant was advised that under some circumstances he or the government may have
the right to appeal the sentence the court imposes. The defendant was further informed, and
professed to understand, that the Plea Agreement contains a waiver of appeal provision under which
the defendant agreed to waive his right to appeal the judgement and sentence if the court accepts the
Plea Agreement and sentences him according to its terms and conditions.
        D.      Waiver of Constitutional Rights
        The defendant was specifically advised that he has the right to persist in a plea of not guilty,
and if he does so persist that he has the right to a speedy and public trial by jury, or before a judge
sitting without a jury if the court and the government so agree; that at trial he would be presumed
innocent and the government would have to prove his guilt beyond a reasonable doubt; that he would
have the right to assistance of counsel for his defense, and if he could not afford an attorney the court
would appoint one to represent him throughout all stages of the proceedings; that at trial he would
have the right to hear and cross examine the government’s witnesses, the right to decline to testify
unless he voluntarily elected to do so, and the right to the issuance of subpoenas or compulsory
process to compel the attendance of witnesses to testify on his behalf. He was further informed that
if he decided not to testify or put on evidence at trial, his failure to do so could not be used against
him, and that at trial the jury must return a unanimous verdict before he could be found guilty.
        The defendant specifically acknowledged understanding these rights, and understanding that
        Case 3:05-cr-00157-RAM              Document 90          Filed 02/01/07        Page 6 of 7



USA v. Juan Agosto-Vega (2)
Report and Recommendation
Page 6
by entering a plea of guilty there would be no trial and he will be waiving or giving up the rights that
the court explained. The defendant’s attorney, Mr. Pedrosa, attested that he explained these rights
to his client and believed that the defendant understood his explanations.
        The defendant was informed that parole has been abolished and that any sentence of
imprisonment must be served. Defendant was additionally informed that a pre-sentence report would
be prepared and considered by the district judge at sentencing, and that the defense and the
government would be allowed to correct or object to any information contained in the report which
was not accurate. Defendant was further admonished that his guilty plea, if accepted, may deprive him
of valuable civil rights, such as the right to vote, to hold public office, to serve on a jury, and to possess

a firearm. The defendant confirmed that he understood these consequences of his guilty plea.

        E.      Factual Basis for the Guilty Plea
        Defendant was read in open court Count Two of the indictment and provided an explanation
of the elements of the offense. The meanings of terms used in the indictment was explained.
        Upon questioning, the government presented to this magistrate judge and to defendant a
summary of the basis in fact for the offense charged in Count Two and the evidence the government
had available to establish, in the event defendant elected to go to trial, the defendant’s guilt beyond
a reasonable doubt. The defendant was able to understand this explanation and agreed with the
government’s submission as to the evidence which could have been presented at trial. The defendant
further acknowledged his agreement with the stipulated version of facts made part of the Plea
Agreement.
        F.      Voluntariness
        The defendant indicated that he was not being induced to plead guilty, but was entering such
a plea freely and voluntarily because in fact he is guilty. He acknowledged that no one had made any
different or other promises in exchange for his guilty plea, other than the recommendations set forth
in the plea agreement. Throughout the hearing the defendant was able to consult with his attorney,
       Case 3:05-cr-00157-RAM            Document 90        Filed 02/01/07      Page 7 of 7



USA v. Juan Agosto-Vega (2)
Report and Recommendation
Page 7

Juan Pedrosa, and did so consult on certain occasions.
IV.    Conclusion
       The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, and entered a plea of guilty as to Count Two of the indictment.
       After cautioning and examining the defendant under oath and in open court concerning each
of the subject matters mentioned in Rule 11, I find that the defendant, Juan Agosto Vega, is
competent to enter this guilty plea, is aware of the nature of the offense charged and the maximum
statutory penalties that it carries, understands that the charge is supported by evidence and a basis
in fact, has admitted to the elements of the offense, and has done so in an intelligent and voluntary
manner with full knowledge of the consequences of his guilty plea. Therefore, I recommend that the
court accept the guilty plea and that the defendant be adjudged guilty as to Count Two of the
indictment. At the time of sentencing, the United States will request the dismissal of the remaining
Counts.
       This report and recommendation is filed pursuant to 28 U.S.C. §636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within ten (10) days of its receipt. Failure to file timely and specific objections
to the report and recommendation is a waiver of the right to review by the district court. United
States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
       A sentencing hearing has been set by the district judge to take place on May 3, 2007 at 4:15
p.m.
       IT IS SO RECOMMENDED.
       San Juan, Puerto Rico, this 1st day of February, 2007.


                                               s/Bruce J. McGiverin
                                               BRUCE J. McGIVERIN
                                               UNITED STATES MAGISTRATE JUDGE
